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                                                                                                           United States Bankruptcy Court
                                                                                                               Southern District of Texas

                                                                                                                   ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                               February 21, 2024
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                                Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

                                                                         )
    In re:                                                               ) Chapter 11
                                                                         )
                                                          1
    HORNBLOWER HOLDINGS LLC, et al.,                                     ) Case No. 24-90061
                                                                         )
                               Debtors.                                  ) (Jointly Administered)
                                                                         )
                                                                         )

              ORDER (I) EXTENDING TIME TO FILE (A) SCHEDULES OF
           ASSETS AND LIABILITIES, (B) SCHEDULES OF CURRENT INCOME
          AND EXPENDITURES, (C) SCHEDULES OF EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES, (D) STATEMENTS OF FINANCIAL AFFAIRS, AND
     (E) RULE 2015.3 FINANCIAL REPORTS AND (II) GRANTING RELATED RELIEF
                              [Relates to Docket No. 6]

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) extending the deadline by

which the Debtors will file their Schedules and Statements, (b) extending the deadline by which

the Debtors must file their initial 2015.3 Reports, and (c) granting related relief; all as more fully

set forth in the Motion; and upon the First Day Declaration; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. § 1334 and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a

final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant



1
      The last four digits of Debtor Hornblower Holdings LLC’s tax identification number are 6035. Due to the large
      number of debtor entities in these chapter 11 cases, for which the Debtors have requested joint administration, a
      complete list of the debtor entities and the last four digits of their federal tax identification numbers is not provided
      herein. A complete list of such information may be obtained on the website of the Debtors’ proposed claims and
      noticing agent at https://omniagentsolutions.com/Hornblower. The location of the Debtors’ service address for
      purposes of these chapter 11 cases is: Pier 3 on The Embarcadero, San Francisco, CA 94111.
2
      Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
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to 28 U.S.C. § 1408; and this Court having found that the relief requested in the Motion is in the

best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                The time within which the Debtors must file the Schedules and Statements is

extended to and including April 19, 2024, without prejudice to the Debtors’ right to seek an

additional extension for cause.

                The time within which the Debtors must file the 2015.3 Reports is extended to and

including the date that is the later of (i) 15 days after the initial 341 Meeting and (ii) April 5, 2024,

without prejudice to the Debtors’ right to seek an additional extension upon cause shown therefor.

The Debtors reserve their rights to file one or more motions with the Court seeking a modification

of such reporting requirements for cause.

                All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

                Notice of the Motion as provided therein is hereby deemed good and sufficient

notice of such Motion, and the requirements of the Bankruptcy Rules and the Bankruptcy Local

Rules are satisfied by such notice.




                                                   2
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               The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

               This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Houston, Texas
    Signed: February 21, 2018
            October 17,  2024
 Dated: ___________, 2024
                                                          ____________________________________
                                                     MARVIN ISGUR       Marvin Isgur
                                                     UNITED STATES
                                                              United BANKRUPTCY
                                                                     States BankruptcyJUDGE
                                                                                       Judge




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